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                  ELEVENTH      CIRCUIT
                     USCA11 Case:         TRANSCRIPT
                                    22-11607               INFORMATION
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                                                                            of 1
PART I.                        TRANSCRIPT ORDER INFORMATION
Appellant to complete and file with the District Court Clerk within 10 days of the filing of the notice of appeal in all cases, including
those in which there was no hearing or for which no transcript is ordered.
Short Case Style:                                                                 vs
District Court No.:                                   Date Notice of Appeal Filed:                       Court of Appeals No.:
                                                                                                                                     (If Available)
CHOOSE ONE:                 No hearing No transcript is required for appeal purposes All necessary transcript(s) on file
                            I AM ORDERING A TRANSCRIPT OF THE FOLLOWING PROCEEDINGS:
Check appropriate box(es) and provide all information requested:
                                 HEARING DATE(S)                        JUDGE/MAGISTRATE                        COURT REPORTER NAME(S)
  Pre-Trial Proceedings
  Trial
  Sentence
  Other


METHOD OF PAYMENT:
    I CERTIFY THAT I HAVE CONTACTED THE COURT REPORTER(S) AND HAVE MADE SATISFACTORY
    ARRANGEMENTS WITH THE COURT REPORTER(S) FOR PAYING THE COST OF THE TRANSCRIPT.
     CRIMINAL JUSTICE ACT. Attached for submission to District Judge/Magistrate is my completed CJA Form 24 requesting authorization
     for government payment of transcript. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY AUTHORIZED
     in Item 13 on CJA Form 24: Voir Dire; Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.]

Ordering Counsel/Party:
Name of Firm:
Street Address/P.O. Box:
City/State/Zip Code:                                                                                       Phone No. :
I certify that I have completed and filed PART I with the District Court Clerk, sent a copy to the appropriate Court Reporter(s) if ordering a
transcript, mailed a filed copy to the Court of Appeals Clerk, and served all parties.

DATE:                         SIGNED:                                                                 Attorney for:

PART II.                              COURT REPORTER ACKNOWLEDGMENT
Court Reporter to complete and file with the District Court Clerk within 10 days of receipt. The Court Reporter shall send
a copy to the Court of Appeals Clerk and to all parties.
Date Transcript Order received:
  Satisfactory arrangements for paying the cost of the transcript were completed on:
  Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:               Estimated no. of transcript pages:                Estimated filing date:
DATE:                          SIGNED:                                                                   Phone No. :
NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the
transcript were completed unless the Court Reporter obtains an extension of time to file the transcript.

PART III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
Court Reporter to complete and file with the District Court Clerk on date of filing transcript in District Court. The Court
Reporter shall send a copy to the Court of Appeals Clerk on the same date.
This is to certify that the transcript has been completed and filed with the district court on (date):
Actual No. of Volumes and Hearing Dates:
Date:                                  Signature of Court Reporter:
                                                                                                                                           Rev. 2/06
